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JNM:plw 1/4/22
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 0:21-CR-60020-WPD
UNITED STATES OF AMERICA
Plaintiff
-Vs-

JONATHAN MARKOVICH, et al.

Defendants

 

MOTION ASSERTING RIGHTS OF CRIME VICTIMS, WILLIAM
McMURRAY AND DAWN McMURRAY

WILLIAM McMURRAY and Dawn McMurray, as surviving Father
and Mother of, and next of kin to KAYLA NICOLE McMURRAY, their deceased
daughter, by and through undersigned counsel, file this Motion Asserting Crime
Victims’ Rights, and state as follows:

WILLIAM McMURRAY and DAWN McMURRAY’S twenty-five (25)
year old daughter, KAYLA NICOLE McMURRAY, was a victim of the crimes
charged in this case. Specifically, KAYLA NICOLE McMURRAY was suffering
from addiction and substance abuse diseases and was one of the individuals lured
into the body brokering web by Compass Detox, WAR and their employees, agents,
and “body brokers”. Once KAYLA NICOLE McMURRAY was lured from California

to Florida, she received inappropriate and substandard medical and/or substance

 

 

 
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abuse treatment from Compass Detox, WAR, by and through its employees and

agents. On October 24, 2020, KAYLA NICOLE McMURRAY died from an

overdose.
Subsection (a) of 18 U.S.C. § 3771, Crime victims’ rights, states:

“(a) Rights of crime victims.—A crime victim has the
following rights:

(1) The right to be reasonably protected from the
accused.

(2) The right to reasonable, accurate, and timely notice
of any public court proceedings, or any parole
proceeding, involving the crime or of any release or
escape of the accused.

(3) The right not to be excluded from any such public
court proceeding, unless the court, after receiving
clear and convincing evidence, determines that
testimony by the victim would be materially altered
if the victim heard other testimony at that
proceeding.

(4) The right to be reasonably heard at any public
proceeding in the district court involving release,
plea, sentencing, or any parole proceeding.

(5) The reasonable right to confer with the attorney for
the Government in the case.

(6) The right to full and timely restitution as provided
in law.

(7) The right to proceedings free from unreasonable
delay.

(8) The right to be treated with fairness and with
respect for the victim’s dignity and privacy.

(9) The right to be informed in a timely manner of any
plea bargain or deferred prosecution agreement.

(10) The right to be informed of the rights under this
section and the services described in Section 503(c)
of the Victims’ Rights and Restitution Act of 1990
(42 U.S.C. 10607(c)) and _ provided contact
information for the Office of the Victims’ Rights
Ombudsman of the Department of Justice.”

 

 

 
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Subsection (b) of 18 U.S.C. § 3771 mandates, in pertinent part, as

follows:

“(b) Rights afforded.—(1) In general.—In any court
proceeding involving an offense against a crime
victim, the court shall ensure that the crime victim
is afforded the rights described in subsection (a).”

And subsection (d) parts (1) and (8), respectively, state, in pertinent
part, as follows:

“(1) Rights.—The crime victim or the crime victim’s
lawful representative, and the attorney for the
Government may assert the rights described in
subsection (a).

(3) Motion for Relief and writ of mandamus.—The
rights described in subsection (a) shall be asserted
in the district court in which a defendant is being
prosecuted for the crime or, if no prosecution is
underway, in the district court in the district in
which the crime occurred. The district court shall
take up and decide any motion asserting a victim’s
rights forthwith.”

WILLIAM McMURRAY and DAWN McMURRAY are each crime
victims entitled to all of the rights under 18 U.S.C. § 3771(a), and they are moving
this Honorable Court to assert each and every right under 18 U.S.C. 3771(a).

WHEREFORE, WILLIAM McMURRAY and DAWN McMURRAY
move this Honorable Court for an Order establishing them as crime victims

entitled to each and every one of the rights under 18 U.S.C. § 3771(a).

 

 

 
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Respectfully submitted,

 

 

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ATTORNEYS FORCRIME VICTIMS,
WILLIAM McMURRAY &

DAWN McMURRAY

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing was

electronically filed on January _21_, 2022 using the CM/ECF System which will

send notification of such filing to all | Zg—

JAMES N. MELAK/
e

Attorney for Crime Victims,
William McMurray &
Dawn McMurray

 

 
